      Case: 25-1555   Document: 36    Page: 1    Date Filed: 04/21/2025




Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and
                      25-1677 (Consolidated)


             In the United States Court of Appeals
                     for the Third Circuit

 ATLAS DATA PRIVACY CORP., as assignee of individuals who are
                 Covered Persons, et al.,
                                                        Plaintiffs-Appellees,

                                     v.

                       WE INFORM LLC, et al.,
                                                    Defendants-Appellants.


  On Appeal from the Order and Memorandum of the United States
District Court for the District of New Jersey, dated November 26, 2024

 MOTION OF FOUNDATION FOR INDIVIDUAL RIGHTS AND
EXPRESSION AND REPORTERS COMMITTEE FOR FREEDOM
  OF THE PRESS FOR LEAVE TO PARTICIPATE AS AMICI
                     CURIAE

                                          ARLEIGH P. HELFER
                                          FOUNDATION FOR INDIVIDUAL
                                             RIGHTS AND EXPRESSION
                                          510 Walnut Street, Suite 900
                                          Philadelphia, PA 19106
                                          Tel: (215) 717-3473
                                          arleigh.helfer@thefire.org

                                          Counsel for Amici Curiae
       Case: 25-1555   Document: 36   Page: 2   Date Filed: 04/21/2025




               RULE 26.1 DISCLOSURE STATEMENT

     Amici Curiae Foundation for Individual Rights and Expression

(FIRE) and Reporters Committee for Freedom of the Press (RCFP),

nonprofit organizations, state that they have no parent companies,

subsidiaries, or affiliates, and do not issue shares to the public.




                                      i
           Case: 25-1555   Document: 36   Page: 3   Date Filed: 04/21/2025




  MOTION FOR LEAVE TO PARTICIPATE AS AMICI CURIAE

      Foundation for Individual Rights and Expression (FIRE) and

Reporters Committee for Freedom of the Press (RCFP) (collectively

Amici) respectfully move the Court under Federal Rule of Appellate

Procedure 29(a)(2) for an order granting them leave to participate as

amici curiae. In support of this motion, Amici state the following:

      1.      FIRE is a nonpartisan nonprofit that defends the individual

rights of all Americans to free speech and free thought—the essential

qualities of liberty.

      2.      Since 1999, FIRE has successfully defended the rights of

individuals through public advocacy, strategic litigation, and participa-

tion as amicus curiae in cases that implicate expressive rights under the

First Amendment. In 2022, FIRE expanded its public advocacy beyond

the university setting and now defends First Amendment rights both on

campus and in society at large. See, e.g., Texas A&M Queer Empowerment

Council v. Mahomes, Civ. A. No. 25-992, 2025 WL 895836 (S.D. Tex. Mar.

24, 2025); Flores v. Bennett, No. 22-16762, 2023 WL 4946605 (9th Cir.

Aug. 3, 2023).




                                          1
          Case: 25-1555   Document: 36   Page: 4   Date Filed: 04/21/2025




     3.      In doing so, FIRE represents speakers without regard to their

political views in lawsuits across the United States, including in matters

involving government attempts to regulate speech in the name of per-

sonal safety or privacy. See, e.g., NetChoice, LLC v. Bonta, 113 F.4th 1101

(9th Cir. 2024); Volokh v. James, 656 F. Supp. 3d 431 (S.D.N.Y. 2023).

     4.      The Reporters Committee for Freedom of the Press is an

unincorporated nonprofit association. The Reporters Committee was

founded by leading journalists and media lawyers in 1970 when the

nation’s news media faced an unprecedented wave of government

subpoenas forcing reporters to name confidential sources. Today, its

attorneys provide pro bono legal representation, amicus curiae support,

and other legal resources to protect First Amendment freedoms and the

newsgathering rights of journalists.

     5.      Amici have a strong interest in preserving the robust

protection for freedom of expression secured by the United States

Supreme Court’s First Amendment jurisprudence, even when the

government invokes personal safety or privacy interests.

     6.      Amici seek leave to file their proposed brief in support of

Appellants because in rejecting strict scrutiny, the decision below fails to



                                         2
           Case: 25-1555   Document: 36   Page: 5   Date Filed: 04/21/2025




adhere to the “strict categorical rules” that “keep[] the starch in the

standards” protecting our freedom of speech. Denver Area Educ.

Telecomms. Consortium, Inc. v. FCC, 518 U.S. 727, 774 (1996) (Souter,

J., concurring).

      7.      The proposed brief is desirable because it addresses the

misguided sentiment that asserted government interests in privacy can

allow content-based laws to receive lesser scrutiny, which threatens to

erode the firm protections the First Amendment provides.

      8.      Amici reached out for consent of the parties to file their brief.

The Defendants-Appellants consented, as did Intervenor-Appellee New

Jersey Office of Attorney General. Amici did not hear back from counsel

for Plaintiffs-Appellees and, therefore, file this motion requesting leave

of the Court.

      WHEREFORE, FIRE and RCFP respectfully request that the Court

enter an order granting them leave to participate as amici curiae and to

file their proposed brief.




                                          3
       Case: 25-1555    Document: 36   Page: 6      Date Filed: 04/21/2025




Dated: April 21, 2025                      /s/ Arleigh P. Helfer
                                           ARLEIGH P. HELFER
                                           Counsel of Record
                                           FOUNDATION FOR INDIVIDUAL
                                              RIGHTS AND EXPRESSION
                                           510 Walnut Street, Suite 900
                                           Philadelphia, PA 19106
                                           Tel: (215) 717-3473
                                           arleigh.helfer@thefire.org

                                           Counsel for Amici Curiae




                                       4
       Case: 25-1555    Document: 36   Page: 7   Date Filed: 04/21/2025




                        CERTIFICATE OF SERVICE

     I certify that on this date, I am causing this Motion for Leave to

Participate as Amici Curiae to be filed electronically via this Court’s

CM/ECF system. All participants are registered CM/ECF users and

service will be accomplished using the CM/ECF system.

Dated: April 21, 2025                  /s/ Arleigh P. Helfer
                                       ARLEIGH P. HELFER
                                       Counsel of Record
                                       FOUNDATION FOR INDIVIDUAL
                                          RIGHTS AND EXPRESSION
                                       510 Walnut Street, Suite 900
                                       Philadelphia, PA 19106
                                       Tel: (215) 717-3473
                                       arleigh.helfer@thefire.org

                                       Counsel for Amici Curiae
